          Case 3:20-cv-01231-LAB Document 2 Filed 08/03/20 PageID.5 Page 1 of 2



1
2
3
4
5
6
7
8                            UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11       ABEL VERA-MELGAR                            Case No.: 20-cv-1231-LAB and
                                   Petitioner,       18-cr-915-LAB-1
12
13       v.                                          ORDER DENYING MOTION
                                                     UNDER 28 U.S.C. § 2255
14       UNITED STATES OF AMERICA
15                              Respondent.
16
17            Petitioner Abel Vera-Melgar has filed a challenge to his continued custody
18   status under 28 U.S.C. § 2255.1 He contends that the Coronavirus Aid, Relief,
19   and Economic Security Act (“CARES Act”), Pub. L. 116-136, 134 Stat. 281
20   (2020), “has made it possible for low risk inmates to be immediately released to
21   home confinement, or . . . furloughed.” Dkt. 1. 2 While the CARES Act may make
22   release to home confinement “possible,” release is not mandatory. Failure to
23   release Vera-Melgar does not violate the CARES Act and implicates no violation
24
25   __________________
     1
26     Vera-Melgar erroneously cites 18 U.S.C. § 2255. That statute addresses civil
     remedies for personal injuries. The Court construes Vera-Melgar’s motion as
27
     seeking relief under 28 U.S.C. § 2255.
28   2
         Docket citations refer to Case No. 3:20-cv-01231-LAB unless otherwise stated.

                                                 1
                                                                        18cr458 and 20cv1225
        Case 3:20-cv-01231-LAB Document 2 Filed 08/03/20 PageID.6 Page 2 of 2



1    of law under 20 U.S.C. § 2255, so the motion is DENIED.
2          Under 28 U.S.C. § 2255(a), a party may challenge his sentence on the
3    ground that its imposition violated the law. But the exercise of discretion vested
4    in the Director of the Bureau of Prisons under the CARES Act doesn’t render
5    Vera-Melgar’s sentence illegal. The Act provides: “[I]f the Attorney General finds
6    that emergency conditions materially affect the functioning of the Bureau [of
7    Prisons], the Director of the Bureau may lengthen the maximum amount of time
8    for which the Director is authorized to place a prisoner in home confinement
9    [under 18 U.S.C. § 3624(c)(2)] as the Director determines appropriate.” CARES
10   Act, Pub. L. No. 116-136 § 12003(b)(2), 134 Stat. 281, 516 (2020) (emphasis
11   added). The statute speaks in completely discretionary terms and vests the
12   discretion in the Director of the Bureau of Prisons to release any prisoner to home
13   confinement as he sees fit. The other side of the coin is the Director’s authority
14   not to exercise his discretion.
15         Vera-Melgar’s motion for relief under 20 U.S.C. § 2255 is DENIED and the
16   Court declines to issue a certificate of appealability.
17
18   Dated: August 3, 2020
19                                            Honorable Larry Alan Burns
                                              Chief United States District Judge
20
21
22
23
24
25
26
27
28

                                               2
                                                                      18cr458 and 20cv1225
